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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

                                                §
 JOHN SABAL,
                                                §
                                                §
      Plaintiff,                                §
                                                §
 v.                                             §       Civil Action No. 4:23-cv-01002-O
                                                §
 ANTI-DEFAMATION LEAGUE,                        §
                                                §
      Defendant.                                §


                                            ORDER

        On June 12, 2024, the temporarily stayed upcoming deadlines until the resolution of

Plaintiff’s counsels’ motion to withdraw. (ECF No. 47). On August 8, 2024, the Court conducted

a hearing and granted the motion to withdraw. (ECF No. 62). On December 13, 2024, the Court

granted in part and denied in part Defendants’ motion for Summary Judgment. (ECF No. 63).

        Having resolved these issues, the Court hereby ORDERS the parties to file a status report

including a proposed schedule for trial and detailing whether Plaintiff’s local counsel is prepared

to try this matter or if Plaintiff has retained new lead counsel. The joint status report SHALL be

filed no later than January 2, 2025.

        SO ORDERED on this 13th day of December, 2024.



                                             _____________________________________
                                             Reed O’Connor
                                             UNITED STATES DISTRICT JUDGE
